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       ORDERED in the Southern District of Florida on September 25, 2023.




                                                 Robert A. Mark, Judge
_____________________________________________________________________________
                                                 United States Bankruptcy Court




                                   UNITED STATES BANKRUPTCY COURT
                                    SOUTHERN DISTRICT OF FLORIDA
                                                   www.flsb.uscourts.gov

        In re: Guillermo Valdes, Jr.                                   Case No.: 23-14458-RAM
               Jessica Lyn Valdes                                      Chapter 13

                               Debtor(s)                      /

        ORDER SUSTAINING OBJECTION TO CLAIM OF MERRICK BANK/CCHOLDINGS

              THIS MATTER having come to be heard without objection on the consent calendar on
       September 19, 2023, upon Debtor’s Objection to Claim of Merrick Bank/CCHoldings (ECF#30;
       claims #9 & 10) and based on the record, IT IS;
              ORDERED AND ADJUDGED:

       1.      The objection to the proofs of claims of Merrick Bank/CCHoldings is SUSTAINED.

       2.       The claims are stricken and disallowed.

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       Respectfully Submitted:
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       The Law Office of Jose A. Blanco, P.A., is hereby directed to mail a conformed copy of this order to all affected
       parties and file a certificate of service.

       LF-70 (rev. 12/01/09)
